Case 2:18-cr-00422-DJH Document 174-2 Filed 06/06/18 Page 1 of 6




                        ='1     ~   ~   ~~
      Case 2:18-cr-00422-DJH Document 174-2 Filed 06/06/18 Page 2 of 6




                             PROI~'T+'~RIINTERVI~W A~~E1V.~ENT


        The ground ~ales and conditions for any proffer/interview are set forth in this c~ocuinent,
 which is 3 pages.

 The parties to Plus Agreement are the l~irst Assistant United States Attorney through her
 Assis#azit U,S, Attorneys, I~evis~ M,Rapp,Domiiuc Lanza, Margret Pai~lmeter and Re~,rinald
 cones, Trial Attorney, Depat~nent of Justice, Kirsta Leebuzg Melton, Assistant ~1.ttoxizey
 General, State ofTexas,Randy Mailman, Deputy Attoi7iey General, 4f~ce of'the Attorney
 General, State of California,("lie Pxosecution") and Carl Ferrer acid Mr, Feirer's cattnsel, Naz~ci
 Clarence and Jonathan Baum,

 This Agreement binds the U.S. Department ofjustice, alzd the AttoiY~ey Generals' Offices for the
 States of Ctilifoinia end Texas,

        ~, The piupose of any pro#'fer/interview zs to evaluate oral and written statemelits and
proffered informatioli given by Mr. Fez~rer and his agents (including but not Iim%ted to his
attoi~.eys) concerning his invalvernent with Bacltp~zge.com atzd related entities, Mr..~ez~er agrees
to proffer infoirnation ox participate in airy interview on an entirely volui~tarybasis. Mi, Fezxcr
also undez'stay~ds and a~~ees that he is not compelled ixz azzy way to participate in t~zs interview.

        2. Mr. Ferrer voluntarily waives all claims o:F attox~ey-client pi~vilege, vc+hether in his
~exsanal or official capacity as the Claie~ Executive Officer of Bacicpage.cam, LLC as to
comm~.inications with ai~.y attoxney or law firm that represented Backpage.com, or any related
entity, where such coxnnlunications concerned or related to Bacicpage.com ox arty related entity.
This waiver does not ap~1y to IVu. Ferrer's current attorneys, Nand Clarence, Jonathan Baurn end
anyone worl~ing on their behalf Mr, Ferrcx voluntarily agrees to provide all doeuzneiits and other
matez~ial t~ia~ inay be relevant to the investi~atioi~ and t1~at are in his possession ar control,
S~owever, Mr. Ferrer sha11 not disclose any documents or ii~formatioii protected by t1~.e Joint
Defense A.gceement ul this matter. Mr. Ferret u~~derstands that his proffs~/interview afid any
benefit he may receive from informatiotl he provides to the prosectttzox~, does not depend on leis
waiver ofthe attor~~ey-client privilege,

         3. The agreement is explicitly cozitingent upon N.ti, ~er~ex providing t~uthfu~ statements
and ~.'afiliful information. I~. any interview or proffer, Mr, Ferrer and his agezzts will eo7n~letely
and.tr~tthfully answer x.11 questions, will pxovide complete and ~iatliful information relafing to any
and all matters, and will melee no material misstate~aez~ts ox omissions offacts, Mr.Ferrer further
undez~stands that he wi11 neither atteinp~ to protect any person or ei~.tity ~:or ;Falsely implicate any
pexson or entity,fbxough false inforz~ation or omission. Ne~vez~thcless, Flo tntthfill statemen#s made
by or t~uthfill information pa:avided by Mr, Fezxer ar his agents dui7n~ the interview, or otherwise
pro~'fered, will be used directly agaizast Mr,FeiY•er dtu~~g any litigatiozi or proceeding instituted by
the Pz~osecutiou, The Prosecution will be the ultimate arbiter oftl~e truthfilhiess of any staterr~ex~t
ox infoxtuation,
       Case 2:18-cr-00422-DJH Document 174-2 Filed 06/06/18 Page 3 of 6




          4. Nothing in paragraph 4 above, howevez~, p~evei~ts the Prosecution fiom malting
  derivative use of and pursuing Any investigative leads (i.e. fruits) suggested by any statements
  made by or ot~.e~~ information praffe~'ed or provided by Mt. Feixer or ]us agents, In other wozds,
  except as expzessly stated above, M7•, Ferrex understands and agrees that there are Yio limitations
  wliafisoever ou tl~e use the Prosecution can melee oft~ze testiulony and information provided in any
 iufezwiew or otherwise p~•offez~ed by N.~. Ferrer or leis agents, either ozally a~ in writing,both before
  and after• ax~y u~zterview of IvSr, Ferrer. Mr. ~crr~r exp~ressl~ waives any right to challenge the
  de~xvative use of any statements ar information pxovided dui7ng the interview or otherwise
 pzoffezed by M;c. Fearer or his agents, It is the intent ofthis agreement that such derivative use is
 proper and the ~'xosecution. at~d ZvTr. ~exrer hereby agree tl~~tt Federal Rri1e of Criminal Procedure
 11{~, and Federal Ru1e~ of Evidence 408 and 410 and, do not govern such derivative use ui any
 Iitiga~ioii or other proceedings. This provision is necessary to a7iminate any need ar argument fbr
 a Kcastigccr I~.earixag at which the Proseeutioii would have Co prove that the evidence it would
 ir~troduee at trial, or any other proceedings, is not associated with ox tai.zzted bar any staterne~its
 made by or other information provided by NZx. ~'ezx~ex dui7ng a~iy interview, or was otherwise
 proffered fio the Prosecution by Mz•. Feder or lus ageufs.

           5. If Me. Ferrer is a witness at any hial or other proceeding relatzz~g to the information he
 provides to itzvestzga~ing agents, and offers testi~noiz~ materially different from a~~y statements or
 otl~ez uiformatioi~ provided during ~1~e interview or otliei~wise proffered by Mr.Ferrer or his agents,
 the Prosacttt~ioz~ xnay cross-examuie witnesses (including Mr. Ferrez•) and introduce rebut#a1
 evidence concerning any statemez~ts or other information pzovided during any interview ox•
 otherwise proffered b~ Mr,Ferrer ox• his agents. In addition,the Prosecution zese~ves the right to
pzosecute lvir. Fever fog• perjury, false official statement or obs~tlictio~ of justice to tie fullest
extent provided by law. If SLiC~'1 a ~3105~C11~.lOTL OCCIITS~ the Prosecution c~ rise duectly, and
derivatively, in their case-izl-chief, in cross-examination a~~d zn rebuttal, any sta#ernents a~ad
information piovided by Mr. Ferret, whether directly or indirectly tluoug~ his agents, ar
dezxvatively 1inl~ed to t1~e statements and other infoi~nation Mr. Fezxer ox leis agents sup~Iied in an;~
interview or other proffer ~by 1VIr. Fezxer oz bis agents. This provision is needed to ensure that Mr.
Fei7•er does not abuse the oppo~inity far an interview ox pxoffex of ini'ormation, does not melee
materially false stateinezzts to a governmcz~t agency either orally or in writing (dzrectly or
it~c~.irectly), and does i~ot commit perjury when testifyiil~ at trial ox i~a a~ay other legal proceeding

        6, Mr. k'ener iiuderstancls that t~Zc law (s~eci~cally,Brady v. M~rylancl} requires that tl~e
~'rosecution provide axiy person against tx~hom charges ire brotrglit, all i~lformation wlucli tezids to
mitigate or Negate the person's guilt as to the offaxises charged. Therefore, Mr. Fetter tuiderstands
that if BYac~y n7atezial zs c~evelaped oz• ~rrodttced from the interview ar in. any proffer, the~~ the
Prosecution would be required to disclose this information to ~Ze appropriate defendants acid/or
their attorneys at the time the obligation is imposed on the P~~osecution. This provisiozi is included
to 1~ermit tl~e Prosecution to comply with its discovery obligations find is not intended to discourage
Mr. Ferrer from pxovic~ing iziformation to the Prosecution.

         7. With tl~e exceptio~~ of providing z'equu~ed notice i~iider tl~e Joust Defense A~'eemex~.t
in this case, Mr. Ferrer will not, per~onAlly or through any other person(incXudiza~ but not limited
to his attorneys), disclose the existence ofthis agreement or az~y interview or proffer, or anything
otherwise said dt7ring the interview or proffered to the Prosacntion, oY any information relating to
      Case 2:18-cr-00422-DJH Document 174-2 Filed 06/06/18 Page 4 of 6




 M~•, Ferrex~'s cooperation witlx the Prosecution {except that if an atforuey for another putative ox
 actual defendant asks Mr.Fever's counsel or successors whether Mr,Ferrer is coope~•ating wifi~z
 tl~e TJ~tufed States, counsel or successoz~s may confizm the fact that Mr. Fever is cooperating, but
 will not disclose any other information about N1'x. Fez~~ex's coa~eratio~).

        8, This docuzneiit is the fii11 and complete Agxeexneut o:Fthe pai~ies with regard to any
interview oz pzofferec~ information, No ot~ier promises, representations or agreements have been
made by or between tfie panties w~tl~. xegazd to ax~y pxoffex/urtezva.ew ox the underlying matters
xaferer~ced iu this written a~reeinent. The parties shall at all times act ixz good faith to accomplish
their intent in enter7.ng uito this Agrcezr~ent, A.~~y dispute bet~c~veex~ the parties as to whether either
party has Failed fo fu1~ll any of its obligations under this Agreement sha11 be submitted to and
decided by the United States llistrict Cotu~t fbx the DisixXct o#'Arazona.



AGREED:                         ELIZABET.I~ A. STRANGE
                                First Assista~~t United Stites Attorney


DATE                            VIN M,R.APP
                         DOMINIC LANZA
                         MARGRET PERLMBTER
                             Assistar~~T~, A rneys
                             ~r


DATE                            12~GINA E. JO S, Trial Attorney
                                U.S. Depar     fSustice
                                C '.~.E loit n a~ O
                                                  f~sf~'euit Section

D    E                          ~TRSTA LEEBUR.G MELTON
                                 ssistaiit Attorney General,
                                Office oFtheAttoznep General, State of'z'exas


DATE                                  Y MAILMAN,
                               Deplrty Attorney General,
                               Office the t1.tto azey Gcz~eral, State of California


DATE                           CA.R.L FERRE~t



 ~ S~ !Y
DAT
  '                            NANCI CLARLNCE,ESQ.
                               JONATHAN BAUM,ESQ.
            Case 2:18-cr-00422-DJH Document 174-2 Filed 06/06/18 Page 5 of 6



.?   '~•'                                                                                                                                                         `




                                            'S~V~~1T'V~1i~0~     AT'T~R3~T~'Y C~T~~N'P'1?Rl
                                                                                     .. .
                                                                                              XL'~G~,
                                                                                          „j..,,... . .....
                                             .. ......,. ......... . .. . .... .. ..
                    ~•l,.;t;ar~~.~errer' stag`tlie.fgl~nY✓ing~;1.~:my'ca~ac~ty.;•~s:~ol~;pwiier~aud:xnapa~;ez~of:~aztmoor°
                       :..
              Holdings; LLC.t, which wholly' ovr'n's.. Arid operates ~Backpage Con3 LLB ;(of~~:~vttic~';T am ~Chief •
              ~~ceciit~v:~Off~Cez},~ V~ebsita TecFiiglo~gies L, '';I;C:IC T-~oltiiri~s;;~Y;C~'Postirig~S~~lutitiiis;L~:~ ~ari
               osifasfe~ TALC hezeafrer Yefei~i~eci~td.?as "thy Coiu~,aizzes'; I am authorized t~ wfu~y~:each:°q~'~ie::
              Cbi~ripanies'~';aitoYn~~=~lieni pii'yilega:a d;ain~;doing;js i~'~ec~tise,~ believe';~xecutiiigistic}i'S~!$ive~'~s:
              iii ei~ch df ~i1e Coin~iamies' best zi~tex~st.,


                       :X.fiirther Stafe fhat;`b'exng r~~it;esenfed ~ ycotz~isel.'aril`,being ~;iill'y`aciVised;as to'ttiiS jriatiez ;.
              I'liezeby;voli7ritarily~'t~S!aiv~'211.aspects:o~tHe a~toriiey.;cl~~nt~privilege.on belial~'i~~tfle;Com arifes ..
              whi~I otherwise~ina~?~ha~eap~lied~to
                             . .,.. .                        comtnunicatxons;,;~loCumgnts ~ni~.;~ri~'o~i~`tipn;t~i~~•~;r,;;fifie`
                                        :;        .r „                                    ~...            •.

              ~6m~an~e~ h'at'e ~itot~xded..to, 7aw;cni'Qtceihent;pjr Wkiie;~ law ez'ifo~Cernent;rnaytil~e~dy.have;in its's;
                                                          ..
              ~?os$es$xan ~xom'otlier~soitrc.'eisas ~o~~:o;Ws;~
                           a;;;A~l~;cd}iiiriuruoatiQins°z~ela'ted:#o t ie"SCllil~'':~caF,$C,OL'~.~""~~C~BtlIlg~" 1114 ~~SBYYLC~$~•',SCC~LCJIiS~c
                        . .,.                 ,..: : •~   :~: ..                   .j
              o#'the.Campazues' webs~fes, riciudin~ but.not~iniited fcz; mpat5y polici,~~;,~nodex~t on,~ract~~es~ ;
              a~e`.ve'rificaiiou~zactic;~'s
                                        .. .. ~egatity;
                                                ,...    t~'gii~ent, ~iziio(irr%plianq~ ~tittf .'~ay~~nfbrceri~erit:;
                        . ..All
                       .b;:     ..... ;~dmini~nication~;:relaie~:;;to f~i~,Coxip~riies'= ~'uianc~~1~ actiy3ty,: i~nc~udj~g Iii~ ~nofi:               ..
                                                                     ..,.,.  ..
              ~imited'~a:~he sale'.of•~ack~sage~cotr~.in            20~~5~"atl~,loeu~,aiid~;~~andirig.agireemerit~             relate;.
                                                                                                                                      ; "fib  ttiesa~e
                :.:~:.    ........... ..... 1::   . ., ..... .,... ~~ ~     , ~ . . ~;..,...~,.. .. ..,.. . ... .,........... ... .. ,~:,~ •: ~
              of~t:~a1:;Co~zpany m,"20;1,:5~Irionetizatton;oftli~;Cgr~parues.'`~~vebSte's pa~+irieriE:.proc~ssa.zigy;czecli
              c.~cl.pxaccsszng,:,b~ikingr .and~paymerit:.gf'~Zoans;;
                     `c. ~lill'eQi~ ~iunicat ous:z~gi~rdiri~=the:r~Yaticirist p Between;tli~~Con panY~s (ri~luding~tilieir'-
                                                          .~.                                         ...
              ~ui~ei~owtier:'ancl,:ein~`Itl. ees ~ncl``iheiz~fozmer~.o~+nei'sanci~'tif~cers> ricl.~idn ~~~'iii~~iiot'~I~Iit tb
                                                                                             ;~aiii~~Sc,'oi~,~"ayeai~,'~'s:~y,~ei~ as~:~gtr~iriu~icati
                                                                                                                                                 ... .... ns~.;
              ..... .. . ... .. . ...}, Micliael'Lace~
              7a9ne$:Larkiii~           ..... . ..... .,..~:.i ..Jbhn~~`.`,te'd':'}~~;ru'n~f
                                                                       ::       ::                .,          ...
              t etyveert;',ft~ Cpipancs (inc~uirng.. t~ierr c~e~t.o~?t~xer ~ii:~etri~Ioyees)                      ~...    anc1~ bori~~ezuleit.tvlooz~,


                         T~fiirtlie~sta'te.'tha~, z~ aaa~i on°tib.tic.~or~go~ng'w~a ve~'~I;Iiereb':~.volianZa 31`"~waive~:oia
              behalf'o~'fhC~Conip~tiie~;all as                     {s:bf•tlie°~ttorrieyclient zi~y~Ie~e;yr~iich.ofil~er',vwi'se:tna~;~ai'+
              ~.R~St~~d tti;;t~;ie Corrip'aries' 'rel~fion§~i~.,uiit#i~~~iy-~atto~:!~Y~~(j%gX~~Rus atfori~eyS") :y'vl~o~.V'v~~:
                ..:                                                         -
              retailed fo;represe~,t''the;Cgrripa'n~es;in;conneet~on v~ntf~~:vaz'~ptis:mattersire ~tecl tq,'t}ie"su6;j~ct~
              ....                                                                        ~      ~         '~


                                                                          .:
              lisle'd:>above,;~Tliis'attozne~-`,cli~nf~priVilege ~evai~e'r•'~is`'ui'leant`to`apply'fq: ai~`coriimazriicatioriS~
             1ieh~veeki:the:~Comp~i'~ies at~d;;any;, ai~bzrie~ r~pre~e~;~iiig'tlieni ~fi;~riy1une;; all acts, Ti~derta'ken;lij~:
              others :~c~ing~;dn~the':Com~iariiest' aftor~eys'~be}ial~takerifn:conn~cfigp;y~ithre~te'seuting'the
            Case 2:18-cr-00422-DJH Document 174-2 Filed 06/06/18 Page 6 of 6



..    ;,;




                                                                                                                      ~,.
               ~om~ani~s:i~Xate"i~ tb Elie subjecfs:'ti~ted;~b'ove'~ni3: Egiy'.:and;all,clociuX ent°$:generated't~i~ou ~ h
              •(~~tx xc~~e~ent~hon;~~~Ehe~ Companies?i~i~t b~Zoz~gfpthe.;Co}~ipan e.S:


                          I fi~rtlter•stafetlia~'tl§i~awer'do'e's;~i~ot'a ~~1`'`zLan ies 'eat~to:an as e~f:gf~tb:~~
                                                            .. , ..,..                                   >
              . . r►~~es
              Co
                    .r~:.
                                 :xe~iresentafign,':liyrDavzdBotsforii'.of$ots~o~d'8~;`Roark.I~~1?;~rtp'ariy'~spect;ofrriy
                                                    ..          ......... ..                                  ... ....
                                                 •.                               .. .       • :r.. .. •                      ..
              p.... ,,....~l:atto~rn~y ehen# r;~lalion$hip.~yv~t(i.a:~oin~ys.~•who ~a;~e.rep~esented zn~.it~~ ~e:;~as,~:ofi~v~i~o
               ersoi~
              :curre~~I~:ie.'
                . . ,.      .Fre'seriG,nie;ri~'an~i~div'idual aciiyi> including
                               ,.. . .. . . . .. ... ~a..R.......          .. .. r~liut~;ijotlim~ted'to~~at~cz'~CIar~zic~,
                                                                                     .. ..         .. .
                                                ..   .•::
               7oriatfZai:,Ba~tri.aad,~Sk~needa 7af~ex'of Clar'c~ce,,'D}~er''8c; Co~ie~i aid;'ttie La~v Offi~es`of',EQ;:
              `1Vlorr~is,

                                      ~}^^77                                         :.    ~ t:   `,?

                            ''


                                                                                                                       :A




     ..       :~




                        v        Ir
